
Howell, Judge,
delivered the opinion of the court:
■ Plaintiff brings this suit to recover $400,000 allegedly loaned during the years 1943 and 1944 to United States Army officers in charge of guerrilla forces operating in the Philippine Islands, and to recover $500,000 representing the alleged value of watercraft commandeered by the same officers. This suit was filed on October 12, 1951. Defendant has moved, pursuant to Rule 16 (b), to dismiss plaintiff’s petition on the' ground that the claim is barred by the Statute of Limitations, 28 U. S. C. (Supp. IV) § 2501, 62 Stat. 976. The arguments-presented by both parties are identical with those discussed. *670in Ferdinand E. Marcos v. United States, No. 50278, and Flaviana Tan v. United States, No. 50277, this day decided, and the conclusions stated in those cases are controlling.
Inasmuch as plaintiff’s cause of action accrued during the period of wartime suspension of the Statute of Limitations, plaintiff was entitled to the full period of six years within which to present his claim after the lifting of the suspension on September 2, 1945. However, plaintiff did not file his petition until October 12, 1951, which was beyond the limits of the six-year period. Accordingly, the defendant’s motion to dismiss is granted and the petition dismissed.
It is so ordered.
MaddeN, Judge; Littleton, Judge; and JoN.es, Chief Judge, concur.
